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                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS


Wabii Branding, Inc.                                     )
                                                         )
                                                         )
                                 Plaintiff,              ) Civil Action No. 3:22CV30024-MGM
                                                         )
               v.                                        )
                                                         )
                                                         )
                                                         )
                                                         )
Off-Beat Records, Inc. et al.,                           )
                                                         )
                                 Defendants,             )


                                 ORDER WITH RESPECT TO MEDIATION

 NEIMAN, U.S.M.J.


               The parties are hereby notified that the court has scheduled a mediation conference

       on November 2, 2023, by Zoom Video Conference. Counsel are directed to be present

       with their respective clients or representatives thereof without limitation on their authority

       to negotiate and commit to settlement terms that, in their discretion, may be acceptable. It

       shall be understood (a) that all parties and counsel will participate in this court-sponsored

       mediation in good faith and with the interest of settling the matter on mutually acceptable

       terms, (b) that the entire mediation process, including all communications during any in-

       person, video or audio part thereof, is confidential, (c) that all statements made during the

       course of mediation are privileged settlement discussions, made without prejudice to any

       party's legal position, and inadmissible for any purpose in any legal proceeding, (d) that no

       party, participant, or representative shall seek in any proceeding to hereafter compel the

       mediator to testify and/or produce any document with respect to the mediation, and (e)

       that all parties, counsel and other participants agree that, by participating in this court-

       sponsored mediation, they are bound by these conditions and shall keep confidential all

       communications exchanged during the mediation process.
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        By no later than October 26, 2023, each party shall provide under seal an updated

 confidential settlement memorandum of no more than four pages addressing with candor the

 following points: A brief analysis of the key issues involved in the litigation, including a specific

 breakdown of the claimed damages.


       1.     A description of the strongest and weakest legal and factual points in the party’s

              case.

       2.     A description of the strongest and weakest legal and factual points in the

              opponent’s case.

       3.     The status of settlement negotiations, including the last settlement proposal

              made by each side. In this regard, counsel are directed to confer with their

              clients in advance of the mediation conference to explore the party’s settlement

              position, and the parties are encouraged to exchange settlement proposals

              prior to the conference.

       4.     The settlement proposal that the party believes would be fair.

       5.     The settlement proposal that the party would be willing to make in order to

              conclude the matter at this time.

Each memorandum shall be sealed, held in confidence by the court and returned to the party

at the conclusion of mediation. The memoranda shall be submitted to the court by email to

Tamara_Figueroa@Mad.uscourts.gov.

       In the event any party believes the case is not ripe for mediation, please notify other

counsel and the court as soon as possible.

       IT IS SO ORDERED.


DATED: September 8, 2023                          /s/ Kenneth P. Neiman
                                                  KENNETH P. NEIMAN
                                                  United States Magistrate Judge
